Case: 1:17-md-02804-DAP Doc #: 2300-2 Filed: 08/14/19 1 of 5. PageID #: 362937




                      PSJ15 Exh 51
              Case: 1:17-md-02804-DAP Doc #: 2300-2 Filed: 08/14/19 2 of 5. PageID #: 362938

      M essage

      From:            Muhlenkamp, Kate M (Neely) [/O=THCG/OU=HAZELWOODOl/CN=RECIPIENTS/CN=KATE.NEELEY]
0     Sent:            4/10/2009 7:34:14 PM
      To:              Borelli, Victor [/O=THCG/OU=FIRST ADMINISTRATIVE GROUP/CN=RECIPIENTS/CN=VIITOR.BORELLI]; Irwin, Dave H
                       [/O=THCG/OU=FIRST ADMINISTRATIVE GROUP /CN=RECIPIENTS/CN=DAVE.IRWIN]
      CC:              Adams, John G [/O=THCG/OU=FIRST ADMINISTRATIVE GROUP/CN=RECIPIENTS/CN=JOHN.ADAMS]
      Subject:         RE: Oxycodone 15 mg tabs


      Vic-

      Thank you for all of your work on this.

      I worked with Sara and we are shipping to Keysource, the order should ship to them on Monday.

      Thanks,

      Kate



      Kate Muhlenkamp
      Product Manager
      Covidien
      Mallinckrodt
      Specialty Generic Pharmaceuticals
      675 McDonnell Blvd
      Saint Louis, MO 63042

      (314) 654-3735 - Office
      (314) 654-7128 - Fax

      www.covidien.com




                 From: Borelli, Victor
                 Sent: Friday, April 10, 2009 11:15 AM
                 To: Irwin, Dave H; Muhlenkamp, Kate M (Neely)
                 Cc: Adams, John G
                 Subject: RE: Oxycodone 15 mg tabs

                 Here goes:

                 1. Kate and I have spoken and Keysource can get this done but they need product. l think we are moving that
                 along as we speak.
                 2. Keysource has contacted the pharmacy and is setting them up as we speak.
                 3. The pharmacy will place an order for this (and additional) products from Keysource today and Aunt Sarah can
                 walk into the pharmacy on Thursday to pick up the product. Keysource is going to try to ship the pharmacy 1
                 months needs at a time so depending on what is happening with the market place (supply/ demand) we may
                 have to circle back in a month to allocate more Oxy 15 mg. to them for this special circumstance.

                 Thanks to all, especially Aunt Sarah!



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                                                                                                            WWW.DEPOBOOK.COM



    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                  MNK-T1 _0000562387
      Case: 1:17-md-02804-DAP Doc #: 2300-2 Filed: 08/14/19 3 of 5. PageID #: 362939
                                                                                                                              '1
        National Account Manager, Retail
        Covidien
        Mallinckrodt Pharmaceutical Generics
        0:410.308.0633
        F:410.308.0634
                                                                                                                              )
        C:443.204.7914
        email: victor.borelli@covidien.com
        www.covidien.com

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        than the intended recipient is prohibited. If you receive this in error, please inform the sender
        and remove any record of this message.




               From: Irwin, Dave H
               Sent: Friday, April 10, 2009 9:58 AM
               To: Borelli, Victor; Muhlenkamp, Kate M (Neely)
               Cc: Adams, John G
               Subject: RE: Oxycodone 15 mg tabs

               I'm sure I'll be talking to Heather Goodman later today so I can clarify this, but I did the math in my head
               late yesterday and this equates to 50 tablets per day. Is that even possible?



                       From: Borelli, Victor
                       Sent: Friday, April 10, 2009 9:35 AM
                       To: Muhlenkamp, Kate M (Neely); Irwin, Dave H
                       Cc: Adams, John G
                                                                                                                              )
                       Subject: RE: Oxycodone 15 mg tabs

                       Kate,

                       We need to talk when you get a moment.       We can get this done today but we have 1 problem.



                       vid(}.J(, .M. :JJcvtefli
                       National Account Manager, Retail
                       Covidien
                       Mallinckrodt Pharmaceutical Generics
                       0:410.308.0633
                       F:410.308.0634
                       C:443.204.7914
                       email: victor.borelli@covidien.com
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                 MNK-T1_0000562388
       Case: 1:17-md-02804-DAP Doc #: 2300-2 Filed: 08/14/19 4 of 5. PageID #: 362940

                         From: Muhlenkamp, Kate M (Neely)
                         Sent: Thursday, April 09, 2009 5:49 PM
                         To: Irwin, Dave H
                         Cc: Borelli, Victor; Adams, John G
                         Subject: RE: Oxycodone 15 mg tabs

                         I have spoken with Victor and he thinks he can make this happen (2 cases/month to the
                         below pharmacy). He is working on it and should have an answer shortly.

                         Thanks,

                         Kate



                         Kate Muhlenkamp
                         Product Manager
                         Covidien
                         Mallinckrodt
                         Specialty Generic Pharmaceuticals
                         675 McDonnell Blvd
                         Saint Louis, MO 63042

                         (314) 654-3735 - Office
                         (314) 654-7128 - Fax

                         www.covidien.com




                                   From: Irwin, Dave H
                                   Sent: Thursday, April 09, 2009 3:51 PM
                                   To: Muhlenkamp, Kate M (Neely)
                                   Cc: Borelli, Victor; Adams, John G
                                   Subject: FW: Oxycodone 15 mg tabs

                                   Kate: Here is the info we talked about earlier. Is there something I can do to
                                   help out from this point on? Heather Goodman used to report to Craig Cowman,
                                   who referred her to us. You may want to let Mike know what's going on ... he will
                                   see Craig at NACDS in 2 weeks.

                                   Vic: Thanks for helping set this up. Sounds like it is much appreciated.



                                   From: Heather Goodman [mailto:heathergoodman@insight.rr.com]
                                   Sent: Thursday, April 09, 2009 4:38 PM
                                   To: Irwin, Dave H
                                   Subject: FW: Oxycodone 15 mg tabs

                                   Oops! One extra letter. ..

                                   From: Heather Goodman [mailto:heathergoodman@insight.rr.com]
                                   Sent: Thursday, April 09, 2009 3:29 PM
                                   To: David H. Irwin (dave.irwin@covidient.com)
                                   Cc: 'smorrow@insight.rr.com'
                                   Subject: Oxycodone 15 mg tabs




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                          MNK-T1_0000562389
      Case: 1:17-md-02804-DAP Doc #: 2300-2 Filed: 08/14/19 5 of 5. PageID #: 362941

                               Dave,

                               I spoke with my aunt, and the independent pharmacy she chose is:
                                                                                                                )
                               Dane Drugs
                               6495 E. Broad Street
                               Columbus, Ohio 43213
                               614.866.9338

                               Her monthly prescription is 1500 oxycodone 15 mg.

                               We have not contacted the pharmacy to let them know this is happening yet. In
                               addition, as soon as we know that this arrangement is set up, Aunt Sandra will
                               call her doctor and have him call in the script for her.

                               Please let us know how you'd like to proceed.

                                Dave, as I said, I can't tell you how much this means to me. You're doing a
                               really good thing here. I've copied my aunt, Sandra Morrow, on this email, so
                               she's in the loop.

                               Heather Goodman, Esq.
                               Two Labs Marketing
                               7250 Talanth Place
                               New Albany, Ohio 43054
                               614.657.7586
                               888.227.1168 (fax)
                               heather@twolabsm a rketi ng. com                                                 )




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MNK-T1_0000562390
